0 Case 2:03- --cr 20343-BBD Document 177 Filed 05/02/05 Page 1 of 4 Page|D 225

Fi\.rse 1111 % _ n.o. 11 111'__A;li.i__m’n_c_
121 09 " '

05§*151`! -2 Pl'~i ,__;:_2_“… M
UNITED sTATEs DlsTRICT coURT "/-7 ih 3' 92

aeee111111 1112;<111'19 WESTERN nisTRIcr oF TENNESSEE
Cl___ii’ " ,c:L_:_!S`;. illS it:.i`r! gifts

\`| ` i\__f! Jj\

`UNITED 'sTATEs or AMERICA

 

Plaintiff,

v. No. 03-20343-D

CRYSTAL N. GREER,

Defendant.

MOTION TO CONTINUE SENTENCING

 

Comes now, defendant, Crystal N. Greer, by and through undersigned appointed
attorney of record, Howard B. Manis, does hereby move this court for entry of an order
continuing the sentencing hearing in the above referenced matter. ln support of said
motion, defendant would respectfully state the following:

l. The sentencing hearing in this matter is currently set for May 2, 2005.

2. Counsel for Defendant received additional discovery from the United States

during the week of April 18, 2005.
3. This additional discovery needs to be reviewed by counsel With the defendant
4. Counsel for the defendant Was in a first degree murder trial in Criminal

Division 5, Judge Joseph Dailey during the entire week of April 18 thru April

22, 2005.

us iexoop eni ue peiaiue icetun:)cp s|q_|_

gun diana (<1)39111/1111‘~1 ss 111111.1 141111\

5. Counsel for the defendant is currently serving on jury duty for the criminal

0‘=2'»~

be

'_|£'}F.' L|| 199

courts of the state of Tennessee during the week of April 25 thru April 29,

N|OT|ON GRANTED 1 2

m

éERNlCE BOU\E DONALD
{L;\Woox\ai<cliem\':os75\001\p1d\00001816.1)0c} u 8 mSTRlCT JuDGE l(l 7

  
 

 

2005.

Case 2:03-cr-20343-BBD Document 177 Filed 05/02/05 Page 2 of 4 Page|D 226

6. Due to the above referenced conflicts, counsel for the defendant has been

unable to meet with the defendant and review the additional discovery

7. Counsel for the defendant would request an additional fifteen (]5) days to

meet with the client, review the discovery and prepare for the sentencing
hearing

8. Counsel for the defendant has spoken with Assistant United States Attorney

Tom Culthurst, who has no opposition to this motion.

WHEREFORE, Defendant, by and through counsel, moves that the sentencing
hearing currently set for May 2, 2005 be, and the same is hereby, continue for fifteen (15)
days.

Respectfully submitted,

@/

H.ow . Manis
onroe, Suite G-l
Mernphis, TN 38103
(901) 524-0200
Attorney for Defendant

{L:\WDOX\BKClient`\70375\001\pld\0000] 8 lo,DOC}

Case 2:03-cr-20343-BBD Document 177 Filed 05/02/05 Page 3 of 4 Page|D 227

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Notice of
Appearance has been served on the following party via U.S. Mail, postage thereon
prepaid, this the 02 f day of April 2005.

Mr. Tom Culthurst
Assistant U.S. Attorney
167 North Main, Suite 800
Federal Building

Memphis, TN 38103 /

oward B. Manis

{L:\WDOX\BKClient\'lU}TS\OO l \pld\OOO[]l Sl ().DOC}

ISTRICT COURT - WE'T'RN DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 177 in
case 2:03-CR-20343 was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

